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     Attorneys for:    Defendant, CLYDE CHARLES HELMS
 5
 6
                                 UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                              Case No.: 1:11-CR-00384 AWI
10                    Plaintiff(s),                         STIPULATION TO ADVANCE
                                                            SENTENCING; AND ORDER
11           v.                                             THEREON
12   CLYDE CHARLES HELMS

13               Defendant(s).
     ___________________________________
14
15                     Defendant, CLYDE CHARLES HELMS, by and through counsel, Peter M.
16   Jones, and Plaintiff, United States of America, by and through counsel, Benjamin B. Wagner
17   hereby stipulate as follows:
18                     That the Sentencing Date presently set for March 11, 2013, at 10:00 a.m. be
19   advanced on calendar to February 25, 2013, at 10:00 a.m.
20   Dated: February 13, 2013                    Respectfully submitted,
21
                                                 By: /s/ Peter M. Jones _________________
22                                                  PETER M. JONES, Attorney for
                                                    Defendant, CLYDE CHARLES HELMS
23
24   Dated: February 13, 2013                    BENJAMIN B. WAGNER, U.S. Attorney

25                                               UNITED STATES ATTORNEY’S OFFICE
26
27                                               By: /s/ KATHLEEN SERVATIUS_________
                                                         KATHLEEN SERVATIUS
28                                                       Assistant U.S. Attorney
     {7302/002/00396865.DOC}                         1
     ____________________________________________________________________________________________________
                        STIPULATION TO ADVANCE SENTENCING; AND [PROPOSED] ORDER THEREON
     Case 1:11-cr-00384-LJO-BAM Document 84 Filed 02/14/13 Page 2 of 2


                                                          ORDER
 1
                                Having reviewed the above Stipulation and Good Cause Appearing, it is hereby
 2
     ordered that the Sentencing Date for Defendant, CLYDE CHARLES HELMS be advanced on
 3
     calendar from the present date of March 11, 2013, at 10:00 a.m. to February 25, 2013, at 10:00
 4
     a.m.
 5
 6
 7
     IT IS SO ORDERED.
 8
     Dated:                February 13, 2013
 9
     DEAC_Signature-END:
                                                             SENIOR DISTRICT JUDGE
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     0m8i788
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                                 STIPULATION TO ADVANCE SENTENCING; AND [PROPOSED] ORDER THEREON
